
954 N.E.2d 670 (2011)
352 Ill. Dec. 587
PEOPLE State of Illinois, respondent,
v.
Jacoby JACKSON, petitioner.
Docket No. 112303.
Supreme Court of Illinois.
September 28, 2011.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, First District, is directed to vacate its judgment in People v. Jackson, No. 1-09-3105 (03/31/11), and is directed to reconsider its judgment in light of People v. Marshall, 242 Ill.2d 285, 351 Ill.Dec. 172, 950 N.E.2d 668 (2011), to determine if a different result is warranted.
